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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                   Filed: May 22, 2015

* * * * * * * * *             *   *   *   * *      UNPUBLISHED
CAROLE PRYSTALSKI,                          *      No. 10-500V
                                            *
               Petitioner,                  *      Special Master Dorsey
                                            *
v.                                          *
                                            *      Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                         *      Reasonable Amount Requested to which
AND HUMAN SERVICES,                         *      Respondent Does not Object.
                                            *
               Respondent.                  *
                                            *
* * * * * * * * * * * * *
Franklin John Caldwell, Jr., Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Justine Elizabeth Walters, United States Department of Justice, Washington, DC, for respondent.

                      ATTORNEYS’ FEES AND COSTS DECISION1

         On August 2, 2010, Carole Prystalski (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006). Ms.
Prystalski alleged that she received an influenza vaccination on November 10, 2007, and that she
thereafter suffered from Chronic Inflammatory Demyelinating Polyneuropathy (“CIDP”) which
was caused in fact by the vaccination. Petition at 1, 3. On May 30, 2014, the undersigned
entered a decision awarding compensation to petitioner based on a stipulation filed by the
parties.


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). As provided by Vaccine Rule 18(b), each party has 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the entire decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

                                                1
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        On May 22, 2015, the parties filed a Stipulation of Fact Concerning Attorneys’ Fees and
Costs. According to the stipulation, the parties stipulate to a total award to petitioner of
attorneys’ fees and costs in the amount of $50,000.00. In accordance with General Order #9,
petitioner’s counsel states that petitioner did not advance any monies in reimbursable costs in
pursuit of this claim.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of petitioner’s request and the lack of any objection
by respondent, the undersigned GRANTS the request for approval and payment of attorneys’
fees and costs.

       Accordingly, an award should be made as follows:

       in the form of a check jointly payable to petitioner and to petitioner’s attorney, F. John
       Caldwell, Jr., Esq., of the law firm of Maglio, Christopher & Toale, PA, in the amount of
       $50,000.00.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

        IT IS SO ORDERED.

                                             s/Nora Beth Dorsey
                                             Nora Beth Dorsey
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                2
